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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 ANDREW CORZO, SIA HENRY, ALEXANDER LEO-
 GUERRA, MICHAEL MAERLENDER, BRANDON
 PIYEVSKY, BENJAMIN SHUMATE, BRITTANY
 TATIANA WEAVER, and CAMERON WILLIAMS,
 individually and on behalf of all others similarly situated,
                                Plaintiffs,
                         v.
                                         Case No. 1:22-cv-00125
 BROWN UNIVERSITY, CALIFORNIA INSTITUTE
 OF TECHNOLOGY, UNIVERSITY OF CHICAGO,
 THE TRUSTEES OF COLUMBIA UNIVERSITY IN
 THE CITY OF NEW YORK, CORNELL
 UNIVERSITY, TRUSTEES OF DARTMOUTH
 COLLEGE, DUKE UNIVERSITY, EMORY         Hon. Matthew F. Kennelly
 UNIVERSITY, GEORGETOWN UNIVERSITY, THE
 JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
 INSTITUTE OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
 LAC, THE TRUSTEES OF THE UNIVERSITY OF
 PENNSYLVANIA, WILLIAM MARSH RICE
 UNIVERSITY, VANDERBILT UNIVERSITY, and
 YALE UNIVERSITY,
                                Defendants.

                               NOTICE OF FILING UNDER SEAL

         Pursuant to Paragraph 10(b) of the Second Amended Confidentiality Order entered by the

Court in the above-captioned litigation (ECF No. 608), Plaintiffs hereby serve notice of filing

provisionally under seal Plaintiffs’ Opposition to Georgetown, Cornell, and Penn’s Motion to Seal

Portions of Plaintiffs’ Motion Challenging the Confidentiality Designations by Defendants (ECF

658).

         A copy of the aforementioned filing is being served today upon counsel for all parties via

email.
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       Pursuant to Paragraph 10(c) of the Second Amended Confidentiality Order, Plaintiffs

reserve their rights to oppose any Motion to Seal filed by a producing party.

 Dated: April 3, 2024                               Respectfully Submitted,

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 Elpidio Villarreal                                 Edward J. Normand
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 Steven Magnusson                                   Peter Bach-y-Rita
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